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                                  UNITED STATES DISTRICT COURT
14
                                 NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16
                                                       Case No. 3:20-cv-06469-EMC
17
     Dali Wireless, Inc.,
18                                                     CORNING OPTICAL COMMUNICATIONS
                    Plaintiff,                         LLC’S NOTICE OF RENEWED MOTION
19                                                     AND MOTION FOR JUDGMENT ON THE
            v.                                         PLEADINGS OF NO WILLFUL
20                                                     INFRINGEMENT
     Corning Optical Communications LLC,
21                                                     Date: March 24th, 2022
                    Defendant.                         Time: 1:30 PM
22                                                     Courtroom: Courtroom 5 – 17th Floor
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                                                            MOTION FOR JUDGMENT ON THE PLEADINGS
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 1   NOTICE OF RENEWED MOTION AND RENEWED MOTION FOR JUDGMENT ON THE
                                PLEADINGS
 2
            PLEASE TAKE NOTICE that on March 24, 2022 at 1:30 PM, or as soon thereafter as the
 3
     matter may be heard, in Courtroom 5, 17th Floor of the United States District Court for the Northern
 4
     District of California, located at 450 Golden Gate Avenue, San Francisco, CA 94102, before the
 5
     Honorable Edward M. Chen, Defendant Corning Optical Communications LLC (“Corning” or
 6
     “Defendant”) by its attorneys Alston & Bird LLP, will move and hereby does move, pursuant to
 7
     Federal Rule of Civil Procedure 12(c) for a judgment on the pleadings, dismissing Plaintiff Dali
 8
     Wireless, Inc’s (“Dali” or “Plaintiff”) claims for willful infringement, without leave to amend.
 9
            Defendant’s Renewed Motion for Judgment on the Pleadings is based on this Notice of
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     Motion and Motion, and the accompanying Memorandum of Points and Authorities filed
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     concurrently herewith, as well as the papers, pleadings, and other documents on file in this action,
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     matters properly subject to judicial notice, and such other and further oral or documentary evidence
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     as may be presented at or before the hearing.
14

15
     DATED: February 18, 2022
16
                                                          ALSTON & BIRD LLP
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                                                          /s/ Michael J. Newton
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 1   I.      INTRODUCTION
 2           On August 19, 2021, the Court granted Defendant Corning Optical Communications LLC’s
 3   (“Corning”) motion for judgment on the pleadings of no willfulness with leave to amend. On
 4   September 20, 2021, Dali re-pled willfulness in its Second Amended Complaint (“SAC”). Dali’s
 5   Second Amended Complaint still falls short. It relies on irrelevant facts, unsupported conjecture, and
 6   the precise type of inferential leaps that this Court previously cautioned against. Dali’s willfulness
 7   allegations fail and should be dismissed without leave to amend.
 8   II.     SUMMARY OF THE ALLEGED FACTS AND DALI’S WILLFULNESS PLEADING
 9           Dali’s First Amended Complaint (“FAC”) alleged that from 2010 to 2014, Dali and Corning
10   engaged in discussions in the hopes of forming a strategic partnership and later potential acquisition.
11   (Dkt. 7, FAC ¶¶ 34-36). Dali’s FAC also alleged that during these discussions, Corning examined
12   Dali’s patent portfolio and technology. (FAC at ¶ 34). For example, Dali alleged that from May
13   through July of 2012, Corning’s intellectual property counsel conducted due diligence on Dali and
14   that in in July 2014, Corning conducted acquisition diligence that included studying Dali’s patents.
15   (FAC ¶¶ 36-37). Dali alleges that Corning’s infringement has been willful because Corning examined
16   Dali’s portfolio and technology but did nothing to avoid infringement. (FAC at ¶ 34).
17           On July 15, 2021, Corning filed a motion for judgment on the pleadings of no willfulness
18   pursuant to Federal Rule of Civil Procedure 12(c) (Corning’s “Original Motion”). (Dkt. No. 84). In
19   its Original Motion, Corning argued that Dali failed to plead adequate pre-suit knowledge of the
20   patents-in-suit and that Dali failed to plead egregious conduct by Corning. Id. On August 19, 2021,
21   the Court held a hearing on Corning’s motion. (Dkt. No. 96). The Court dismissed Dali’s willfulness
22   pleading with leave to amend, and cautioned Dali that “[w]hen you allege willful [infringement], it
23   seems to me that it is a heavy allegation.” (8/19/21 Hrg. Tr. at 7:1-21). The Court also warned Dali
24   that, in amending its willfulness pleading, “[t]here is going to have to be a fair amount of specificity
25   consistent with Rule 11 to get around the problematic issues that have been raised by the defense.”
26   (Id. at 17:20-21).
27           On September 20, 2021, Dali filed its SAC in which it attempted to re-plead willfulness. A
28   marked-up version of Dali’s SAC is attached as Exhibit 1, with the newly added language
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                                             RENEWED MOTION FOR JUDGMENT ON THE PLEADINGS
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 1   highlighted.1 (See Ex. 1 to Barton Decl.). Dali’s new averments can be summarized as follows:
 2                    Paragraph 34: an assertion that Dali lacks an adequate remedy at law to prevent
 3                     future infringement. This averment relates to whether Dali will be entitled to an
 4                     injunction (it will not) and is irrelevant to an allegation of willfulness.
 5                    Paragraphs 35-39: an allegation that Corning “had notice of the patents-in-suit prior
 6                     to the filing of the an [sic] infringement allegation containing the patents-in-suit”
 7                     based on actual notice. Specifically, Dali alleges that Corning had notice of the ’358
 8                     patent in late 2016, had notice of the ’261 patent on April 8, 2020, and had notice of
 9                     the ’454 patent on April 15, 2020. The Original Complaint in this case was filed in
10                     2019.
11                    Paragraphs 40-70:        a series of unconnected and legally irrelevant allegations
12                     regarding Dali’s various failed business ventures (for example, its disastrous attempt
13                     to provide the DFW Airport with a product), Dali’s failed patent litigations (its lawsuit
14                     against CommScope in which Dali was found by the jury to have willfully infringed
15                     five CommScope patents—a judgment recently affirmed by the Federal Circuit), and
16                     reiteration of the same irrelevant theory regarding Corning allegedly “monitoring”
17                     Dali’s patent portfolio that this Court previously described as “quite an inferential
18                     leap.” (8/19/21 Hrt. Tr. at 4:10-12).
19   III.     LEGAL STANDARDS
20            A.       Judgment on the Pleadings
21            The Federal Rules of Civil Procedure state that “[a]fter the pleadings are closed…a party may
22   move for judgment on the pleadings.” FED. R. CIV. P. 12(c). A Rule 12(c) motion follows the same
23   standard as a motion to dismiss under Rule 12(b). Chavez v. United States, 683 F.3d 1102, 1108 (9th
24   Cir. 2012); see also Dworkin v. Hustler Mag., Inc., 867 F.2d 1188, 1192 (9th Cir. 1989) (“The
25   principal difference between motions filed pursuant to Rule 12(b) and Rule 12(c) is the time of
26   1
       A more traditional “redlined” version is not attached because (a) redlined comparisons of two PDF
27   documents are largely unusable because of pagination differences and (b) only what is new in the
     SAC is relevant as it is the sufficiency of the contents of the SAC—new and old—that are relevant
28   to the instant motion.
                                                        -2-
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 1   filing.”). Under both rules, “a court must determine whether the facts alleged in the complaint, taken
 2   as true, entitle the plaintiff to a legal remedy.” Brooks v. Dunlop Mfg. Inc., 2011 U.S. Dist. LEXIS
 3   1419422, at *10 (N.D. Cal. Dec. 9, 2011). A plaintiff must allege facts that are enough to raise his
 4   right to relief “above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)
 5   (citation omitted).
 6            “In testing the sufficiency of a pleading, the well-plead allegations of the non-moving party
 7   are accepted as true, while any allegations of the moving party which have been denied are assumed
 8   to be false.” Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1550 (9th Cir. 1989).
 9   The Court may generally consider information “contained in materials of which the court may take
10   judicial notice” and documents attached to the complaint. Heliotrope Gen., Inc. v. Ford Motor Co.,
11   189 F.3d 971, 981 n.18 (9th Cir. 1999) (citation omitted); see United States v. Ritchie, 342 F.3d 903,
12   908 (9th Cir. 2003). “Judgment on the pleadings may be granted when the moving party clearly
13   establishes on the face of the pleadings that no material issue of fact remains to be resolved and that
14   the moving party is entitled to judgment as a matter of law.” Hal Roach Studios, 896 F.2d at 1550.
15            B.      Pleading Willfulness
16            Since Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1935 (2016), courts in this
17   District require willful infringement claims to show both “knowledge of the . . . [p]atents” and
18   “egregious conduct” in order to survive a motion to dismiss. See, e.g., Fortinet, Inc. v. Forescout
19   Technologies, Inc., 2020 U.S. Dist. LEXIS 204580, *42-45 (N.D. Cal. Nov. 2, 2020); Google LLC v.
20   Princeps Interface Techs., 2020 U.S. Dist. LEXIS 52753, *5-10 (N.D. Cal. Mar. 26, 2020); Software
21   Research, Inc. v. Dynatrace LLC, 316 F. Supp. 3d 1112 (N.D. Cal. 2018). The Federal Circuit recently
22   reinforced this principle, stating unequivocally that “[k]nowledge of the asserted patent and evidence
23   of infringement is necessary, but not sufficient, for a finding of willfulness. Rather, willfulness
24   requires deliberate or intentional infringement.” Bayer HealthCare LLC v. Baxalta Inc., 989 F.3d
25   964, 988 (Fed. Cir. 2021)2. Stated differently, “a claim for enhanced damages for willful infringement
26   is not adequately stated when all that is alleged is knowledge of the patent and direct infringement.”
27

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         All emphasis added unless otherwise noted.
                                                        -3-
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 1   MasterObjects, Inc. v. Amazon.com, Inc., 2021 U.S. Dist. LEXIS 194462, *4, (N.D. Cal. Oct. 7, 2021)
 2   (citing Bayer, 989 F.3d 964 at 987-88; SRI Int'l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295, 1308-10 (Fed.
 3   Cir. 2019); and Arctic Cat Inc. v. Bombardier Recreational Prods. Inc., 876 F.3d 1350, 1371 (Fed.
 4   Cir. 2017)).
 5           A claim of willfulness must include allegations pled through specific facts. Finjan, Inc. v.
 6   Cisco Sys., 2018 U.S. Dist. LEXIS 239284, *13-14 (N.D. Cal. Feb. 6, 2018). As noted by Judge
 7   Freeman, “[a] court may not award ‘enhanced damages simply because the evidence shows that the
 8   infringer knew about the patent and nothing more.’ See Halo, 136 S. Ct. at 1936 (Breyer, J.,
 9   concurring) (emphasis in original). . . a complaint must contain some allegations which make it
10   plausible that the accused infringer’s behavior was egregious and that allegations of knowledge of
11   the patents-in-suit alone are insufficient.” Finjan, 2018 U.S. Dist. LEXIS 239284 at *15-16.
12   IV.     DALI PLEADING IS INADEQUATE
13           A.      Dali Fails to Allege Pre-Suit Knowledge of Two of the Patents-In-Suit
14           Dali’s SAC acknowledges that Corning did not learn of the ’261 and ’454 patents until months
15   after Dali filed its Complaint on December 30, 2019. Compare SAC at ¶¶ 38-39 with Dkt. No. 1. The
16   fact that Dali does not allege pre-suit knowledge of the ’261 and ’454 patents is fatal to its willfulness
17   allegations for these two patents. Dali attempts to sidestep this fatal flaw through the use of clever
18   verbiage: its SAC alleges that “Corning had notice of the patents-in-suit prior to the filing of the an
19   [sic] infringement allegation containing the patents-in-suit in two ways.” SAC at ¶ 36. The issue is
20   this: the case law makes clear that “pre-suit” knowledge of the patents is what is relevant, but Dali
21   cannot allege pre-suit knowledge as evidenced by its averments in paragraphs 38 and 39. The
22   Complaint in this case was filed in 2019, and Corning did not have knowledge of the ’261 and ’454
23   patents until 2020. So what Dali does instead is to allege that notice occurred “prior to the filing of
24   the an [sic] infringement allegation containing the patents-in-suit.” SAC at ¶ 36. This “creative” but
25   ultimately disingenuous argument regarding pre-suit knowledge for the ’261 and ’454 patents should
26   be rejected.3
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     3
      Even assuming that Dali is correct that pre-infringement allegation notice is all that is required, it
28   would at most constitute notice of the actual patents (not knowledge of infringement) for 22 days for
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 1           B.       Dali Fails to Allege Egregious Conduct
 2           The Federal Circuit made it abundantly clear that simple knowledge of the patent is “not
 3   sufficient…for a finding of willfulness.” Bayer HealthCare LLC v. Baxalta Inc., 989 F.3d 964, 988
 4   (Fed. Cir. 2021). Instead, a party alleging willful infringement must present evidence of “deliberate
 5   or intentional infringement.” Id. In this district, this standard has been described as requiring a
 6   complaint to plead facts alleging “knowledge of infringement.” See, e.g., MasterObjects, Inc. v.
 7   Amazon.com, Inc., 2021 U.S. Dist. LEXIS 194462, *11 (N.D. Cal. Oct. 7, 2021); see also Fluidigm
 8   Corpo. v. IONpath, Inc., 2020 U.S. Dist. LEXIS 12154, at *9 (N.D. Cal. Jan. 24, 2020). “Knowledge
 9   of infringement does not arise from knowledge of the asserted patent as a matter of course; it must
10   be the subject of discrete, albeit related, allegations.” Id. Dali’s SAC falls woefully short of pleading
11   this element sufficiently.
12           Paragraphs 71 through 74 of the SAC contain the entirety of Dali’s allegations that “Corning’s
13   Conduct is Egregious.” See SAC at ¶ 75 (“As demonstrated by the examples in paragraphs 71-74,
14   Corning’s conduct in [sic] deliberate and therefore egregious.”). Dali’s pleadings are irrelevant and
15   insufficient:
16                   Paragraph 71: Dali’s conclusion that Corning’s “conduct is egregious because it is
17                    [] deliberate” is nothing more than a tautological rephrasing of the legal standard, and
18                    not a factual pleading in any sense. Moreover, Dali’s apparent assertion that Corning’s
19                    conduct is egregious because “it harmed the market for Dali’s products and Dali’s
20                    reputation as an [sic] technology leader in the industry” is irrelevant. This allegation—
21                    unfounded as it is—is only potentially relevant to whether Dali is entitled to an
22                    injunction, not whether Corning’s alleged infringement has been willful. Those are
23                    different issues. The remainder of Paragraph 71 is a quote of the appropriate legal
24                    standard, and not a factual pleading.
25
     the ’261 patent and 15 days for the ’454 patent. Corning submits that this would still fail to
26   constitute meaningful pre-infringement allegation notice that could give rise to a willfulness
     allegation. See, e.g., Sapphire Crossing LLC v. Robinhood Mkts., 2021 U.S. Dist. LEXIS 8256, at
27   *18-19 (D. Del. Jan. 15, 2021) (granting motion to dismiss willfulness allegations where plaintiff
     provided notice of the patent 15 hours before filing Complaint and describing it “as the most de
28   minimis claim of willful infringement in this Court’s history”).
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 1                  Paragraph 72: The allegations in Paragraph 72 have nothing to do with willfulness,
 2                   the asserted patents, or the accused products. In fact, the allegations in Paragraph 72
 3                   have nothing to do with this case. Instead, Paragraph 72 contains Dali’s lamentations
 4                   regarding a “yet-to-be released” Corning product that is not accused of infringement
 5                   in this case. It is entirely unclear what this paragraph has to do with this case at all,
 6                   much less what possible connection the allegations in this paragraph have to do with
 7                   alleged willful infringement of the patents-in-suit. This paragraph also contains
 8                   assertions regarding alleged irreparable harm—an allegation that, again, has nothing
 9                   to do with willfulness.
10                  Paragraph 73: This paragraph is an allegation that Corning continues to sell the
11                   accused SpiderCloud products. This allegation has nothing to do with whether
12                   Corning possessed pre-suit knowledge of infringement. It is thus irrelevant. But even
13                   if it related to pre-suit knowledge, alleging knowledge and continued infringement is
14                   insufficient. See WiNet Labs LLC v. Apple Inc., 2020 U.S. Dist. LEXIS 12138, at *13-
15                   14 (N.D. Cal. Jan. 24, 2020); Fluidigm, 2020 U.S. Dist. LEXIS 12154, at *9;
16                   XpertUniverse, Inc. v. Cisco Sys., Inc., 2017 U.S. Dist. LEXIS 168269, at *19 (N.D.
17                   Cal. Oct. 11, 2017).
18                  Paragraph 74: This paragraph contains an allegation that a different Corning product
19                   that is not accused of infringement in this case infringes different Dali patents. Again,
20                   this has nothing to do with knowledge of infringement. Frankly, it has nothing to do
21                   with this case at all.
22   Dali’s irrelevant and, in some instances, bewildering allegations fail to satisfy the requisite pleading
23   standard, either individually or collectively. Dali cannot allege any facts supporting a conclusion of
24   egregious behavior or “knowledge of infringement,” and dismissal is thus appropriate.
25          C.       Dali Is Out of Chances to Get It Right
26          This case is not at its infancy; fact discovery is winding to a close. Dali was not unaware of
27   the specific pleading requirements for willfulness; it pled the legal standard in its SAC. Dali cannot
28   plead ignorance as to the Court’s expectations; the Court made its views and expectations abundantly
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 1   clear at the hearing on the first motion for judgment on the pleadings. 4 Dali simply lacks facts with
 2   which to plead willfulness. Dismissal without leave to replead is the only appropriate remedy at this
 3   juncture.
 4          Corning’s need to renew this motion is particularly unpalatable given a recent ruling against
 5   Dali in a case alleging the same theory against Corning in the Western District of Texas. In that case,
 6   Dali sought leave to amend its Complaint after the close of fact discovery to plead willfulness.
 7   Corning opposed. Judge Albright denied Dali’s motion, reasoning as follows:
 8                  The [Proposed Amended Complaint (PAC)] does not adequately allege
                    Corning’s knowledge of infringement. To be sure, the PAC alleges that
 9                  Corning learned of the ’508 patent in 2018, satisfying the first Parity
                    element. See ECF No. 42-7 ¶ 25. But Dali adduces little else in support
10                  of willfulness, alleging only that the Parties collaborated from 2010-
11                  2014 to develop DAS technology, that Corning became familiar with
                    Dali’s patent portfolio, and Corning envisioned continuing DAS
12                  development with a partner, potentially including Dali. ECF No. 42-7
                    ¶¶ 21–24.2 Dali requests that, because Corning was interested in
13                  Dali’s DAS technology from 2010-2014 and learned of the ’508 patent
                    years later, the Court should infer that Corning knew or should have
14
                    known it was infringing the ’508 patent. See ECF No. 46 at 2–3. It will
15                  not do so. The proposed inference is unreasonable, particularly absent
                    allegations regarding Corning’s conduct from 2014 to 2018 as it relates
16                  to Dali or its technology. Dali argues that “Corning spent years
                    monitoring Dali’s technology,” id. at 3, yet the PAC cites no evidence
17                  showing Corning did so after 2014.
18                  Accordingly, the PAC fails to sufficiently plead willful infringement
                    because it does not satisfy the third Parity factor. Dali has not made a
19                  plausible willful infringement claim entitling Dali to relief,
                    undercutting any suggestion that his new claim is “important.” This
20                  is grounds enough to deny Dali’s request for leave.
21
     (Ex. 2 to Barton Decl. at p. 5-6 (footnotes omitted)). In other words, this renewed motion is now the
22
     third time that Corning has been forced to oppose Dali’s attempts to inject willfulness into cases
23
     against Corning, with the first two times both resulting in a Court ruling that Dali’s pleadings were
24
     insufficient. Dali yearns to spin a sordid tale of Corning’s misdeeds for the jury, but it lacks the ever-
25
     crucial facts necessary to do so. Dali’s most recent attempt to plead willfulness is just as insufficient
26

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     4
      “There is going to have to be a fair amount of specificity consistent with Rule 11 to get around the
28   problematic issues that have been raised by the defense.” (8/19/21 Hrg. Tr. at 17:20-21).
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 1   as its prior attempts, and it should not now be given yet another chance to tilt at the willfulness
 2   windmill. Dismissal without leave is appropriate.
 3   V.       CONCLUSION
 4            For the foregoing reasons, Corning respectfully requests that the Court enter judgment on the
 5   pleadings finding that Dali’s SAC fails to state a claim for willful infringement, without leave to
 6   amend.
 7                                                   ALSTON & BIRD LLP
 8

 9    Dated: February 18, 2022                 BY: /s/ Michael J. Newton

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                                                    RENEWED MOTION FOR JUDGMENT ON THE PLEADINGS
                                                                     CASE NO. 3:20-CV-06469-EMC
